Case 1:18-cv-00950-LO-JFA Document 347 Filed 09/06/19 Page 1 of 6 PageID# 12290



                          UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA

                                   )
 SONY MUSIC ENTERTAINMENT, et al., )
                                   )
           Plaintiffs,             )
                                   )
      v.                           )                  Case No. 1:18-cv-00950-LO-JFA
                                   )
 COX COMMUNICATIONS, INC., et al. )
                                   )
           Defendants.             )
                                   )

                        NONPARTY MARKMONITOR, INC.’S
                    RESPONSE TO DEFENDANTS’ MOTION TO SEAL

        Nonparty MarkMonitor, Inc. (“MarkMonitor”), through counsel, and pursuant to L. R. Civ.

 5(C), hereby submits its response to Plaintiffs’ Motion to Seal (ECF No. 327) requesting that

 MarkMonitor’s information and materials remain under seal, and in support states as follows:

 I.     APPLICABLE STANDARD

         “When a party moves to file material under seal because another party has designated that

 material as confidential, the party designating the material as confidential must file a response to

 the motion complying with requirements (2), (3), and (4) above along with a proposed order.” L.

 R. Civ. 5(C). “The non-confidential memorandum shall include: …

                (2) A statement why sealing is necessary, and why another
                procedure will not suffice, as well as appropriate evidentiary support
                for the sealing request;
                (3) References to the governing case law, an analysis of the
                appropriate standard to be applied for that specific filing, and a
                description of how that standard has been satisfied;
                (4) Unless permanent sealing is sought, a statement as to the period
                of time the party seeks to have the matter maintained under seal and
                how the matter is to be handled upon unsealing.

 Id.



                                                  1
Case 1:18-cv-00950-LO-JFA Document 347 Filed 09/06/19 Page 2 of 6 PageID# 12291



 II.    ANALYSIS

        Plaintiffs’ Motion requests that the Court seal the following documents that contain

 information designated by MarkMonitor as Highly Confidential – Attorneys’ Eyes Only: Exhibits

 2, 4, 5, 7, 12, 25, 70, and 71 (filed via hard drive), the Declaration of Sam Bahun (ECF No. 316),

 and Declaration of Barbara Frederiksen-Cross (ECF No. 317) to Plaintiffs’ Motion for Summary

 Judgment (“Plaintiffs’ MSJ”), Exhibits 1 (ECF No. 292-2), 2 (ECF No. 292-3), and 4 (ECF No.

 292-5) to Plaintiffs’ Motion to Preclude Feamster (“Feamster Motion”); Exhibits 1 (ECF No. 294-

 2) and 2 (ECF No. 294-3) to Plaintiffs’ Motion to Exclude Weber (“Weber Motion”); and the

 memoranda in support of Plaintiffs’ MSJ (ECF No. 313), Feamster Motion (ECF No. 292), and

 Weber Motion (ECF No. 294) (collectively, the “Proposed Sealed Exhibits”). The Proposed

 Sealed Exhibits contain information that MarkMonitor has designated Highly Confidential –

 Attorneys’ Eyes Only pursuant to the Stipulated Protective Order (ECF No. 60).

        A.      Non-Confidential Description of Material Filed Under Seal.

        Plaintiffs’ MSJ Exhibit 2 (filed via hard drive) is an Excel spreadsheet containing highly

 confidential information related to MarkMonitor’s proprietary verification process for showing

 evidence of infringement.

        Plaintiffs’ MSJ Exhibit 4 (filed via hard drive) are excerpts of MarkMonitor’s Case

 Packages, which contain highly confidential information related to MarkMonitor’s proprietary

 verification process for showing evidence of infringement.

        Plaintiffs’ MSJ Exhibit 5 (filed via hard drive) is the Rebuttal Expert Report of Dr. Nick

 Feamster, which contains discussion of MarkMonitor’s proprietary verification process for

 showing evidence of infringement and MarkMonitor’s proprietary source code.

        Plaintiffs’ MSJ Exhibit 7 (filed via hard drive) is an Excel spreadsheet showing the hash

 values in MarkMonitor’s notices of infringement to Cox, which constitute the product of

                                                 2
Case 1:18-cv-00950-LO-JFA Document 347 Filed 09/06/19 Page 3 of 6 PageID# 12292



 MarkMonitor’s proprietary verification process for showing infringement.

        Plaintiffs’ MSJ Exhibit 12 (filed via hard drive) is the Supplemental/Rebuttal Report of

 Christian Tregillis, which discusses information related to and as a product of MarkMonitor’s

 proprietary verification process for showing evidence of infringement.

        Plaintiffs’ MSJ Exhibit 25 (filed via hard drive) are summary data of RIAA infringement

 notices to Cox and Cox Responses.

        Plaintiffs’ MSJ Exhibit 70 (filed via hard drive) is a text file containing highly confidential

 information related to MarkMonitor’s proprietary verification process for showing evidence of

 infringement.

        Plaintiffs’ MSJ Exhibit 71 (filed via hard drive) is an Excel spreadsheet containing highly

 confidential information related to MarkMonitor’s proprietary verification process for showing

 evidence of infringement.

        Bahun’s Declaration (ECF No. 316) and Frederiksen-Cross’s Declaration (ECF No. 317)

 discuss MarkMonitor’s proprietary verification process for showing evidence of infringement and

 the foregoing exhibits.

        Feamster Motion Exhibit 1 (ECF No. 294-2) is the Rebuttal Expert Report of Dr. Nick

 Feamster, which contains discussion of MarkMonitor’s proprietary verification process for

 showing evidence of infringement and MarkMonitor’s proprietary source code.

        Feamster Motion Exhibit 2 (ECF No. 294-3) is the Report of George P. McCabe, which

 contains discussion of MarkMonitor’s proprietary verification process for showing evidence of

 infringement.

        Feamster Motion Exhibit 4 (ECF No. 294-5) contains excerpts of the transcript from the

 deposition of Nick Feamster, which discuss MarkMonitor’s proprietary verification process for



                                                  3
Case 1:18-cv-00950-LO-JFA Document 347 Filed 09/06/19 Page 4 of 6 PageID# 12293



 showing evidence of infringement and MarkMonitor’s proprietary source code.

        Weber Motion Exhibit 1-2 (ECF No. 294-2) discusses highly confidential information

 related to MarkMonitor’s relationship with the RIAA.

        B.      Sealing the Proposed Sealed Exhibits is Necessary to Protect MarkMonitor’s
                Confidential, Proprietary Source Code and Verification Processes Upon
                Which Its Business is Built and Maintains a Competitive Advantage.

        MarkMonitor is a technology company that develops software intended to protect

 intellectual property owners from infringement, counterfeiting, fraud, piracy, and cybersquatting.

 Relevant to this action, MarkMonitor was retained by the RIAA to detect, report, and facilitate

 notification for infringement in the form of unauthorized downloads of songs on peer-to-peer file

 sharing sites. MarkMonitor’s source code was developed to perform MarkMonitor’s verification

 processes that MarkMonitor’s customers pay MarkMonitor to perform. MarkMonitor’s source

 code and verification processes are proprietary and kept confidential to maintain its competitive

 advantage in intellectual property protection. Data generated from MarkMonitor’s source code

 and verification process are also proprietary and confidential as it is the end product used by

 MarkMonitor’s customers.

        The Proposed Exhibits contain descriptions of MarkMonitor’s proprietary verification

 processes and trade secrets, excerpts from MarkMonitor’s proprietary source code, data resulting

 from its proprietary verification process. The disclosure of the contents of the Proposed Exhibits

 would create a substantial risk of harm to MarkMonitor. MarkMonitor requests that the Proposed

 Sealed Exhibits be permanently sealed.

        C.      Sealing Confidential, Proprietary, and Competitive Information Outweighs
                the Public Interest in Disclosure.

        Disclosure of “sources of business information that might harm a litigant’s competitive

 standing” outweigh the common law right of public inspection.             See Nixon v. Warner


                                                 4
Case 1:18-cv-00950-LO-JFA Document 347 Filed 09/06/19 Page 5 of 6 PageID# 12294



 Communications, 435 U.S. 589, 598, 98 S. Ct. 1306, 55 L. Ed. 2d 570 (1978) (citing Schmedding

 v. May, 85 Mich. 1, 5-6, 48 N. W. 201, 202 (1891); Flexmir, Inc. v. Herman, 40 A.2d 799, 800

 (N.J.)). See also Woven Elecs. Corp. v. Advance Group, Inc., Nos. 89-1580, 89-1588, 1991 U.S.

 App. 6004, at *17 (4th Cir. Apr. 15, 1991); East West, LLC v. Rahman, 2012 U.S. Dist. LEXIS

 126242, at *7-8 (E.D. Va. Sept. 4, 2012) (granting motion to seal expert reports containing

 “confidential business information and other trade secret protected information”).

        MarkMonitor’s source code, verification processes, and resulting data from running the

 source code are the sources of information that establish MarkMonitor’s competitive advantage as

 a technology resource for its customers and potential customers to protect their intellectual

 property. Disclosure of the Proposed Sealed Exhibits would have severe financial repercussions

 to MarkMonitor’s business and ability to attract and maintain customers.

        D.      MarkMonitor Requests Permanent Sealing of the Proposed Sealed Exhibits.

        MarkMonitor seeks permanent sealing of the Proposed Sealed Exhibits.

 III.   CONCLUSION

        For the foregoing reasons, Nonparty MarkMonitor, Inc. respectfully requests that this

 Court grant Plaintiffs’ Motion to Seal (ECF No. 327).



 Dated: September 6, 2019                     Respectfully submitted,

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                                                 5
               Case 1:18-cv-00950-LO-JFA Document 347 Filed 09/06/19 Page 6 of 6 PageID# 12295



                                                  CERTIFICATE OF SERVICE

                          I hereby certify that on this 6th day of September, 2019, the foregoing was filed and served
                  electronically by the Court’s CM/ECF system upon all registered users.

                                                                /s/ Julia K. Whitelock
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